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RE: PLACEMENT OF CORRECTIVE STATEMENT SIGNS AT RETAIL

Dear Valued Retailer:

In 1999, the United States Government sued the major cigarette companies under various federal
statutes asserting claims related to the marketing and sale of cigarettes. In 2006, a federal judge
entered judgment in favor of the Government on certain claims and, among other things, ordered
Altria, R.J. Reynolds Tobacco Company (“RJR”), and Philip Morris USA Inc. (“PM USA”) to
make “corrective statements” on certain topics. ITG Brands LLC (“ITG”) became a party to the
litigation for purposes of the remedies when it purchased four cigarette brands from RJR in 2015.
As part of the remedy, the companies now have to amend their agreements with retailers to require
the placement of corrective statement signs in retail stores.

PM USA, RJR, and ITG (the “Manufacturers”) have now reached an agreement with the United
States and several public health organizations, which intervened in the case, regarding how these
court-ordered statements will be displayed in retail stores.

You are receiving this notice because the proposed consent order will impact your cigarette retail
program agreement with one or more of the Manufacturers. Judge Paul L. Friedman of the United
States District Court for the District of Columbia is considering whether to accept the proposed
consent order and is considering whether the order makes due provision for the rights of innocent
persons, including third party retailers. If the court approves, the consent order will require the
following changes.

    •   The Manufacturers will be required to display corrective statement signs containing court-
        ordered messages about cigarettes and smoking at the point of sale in all retail locations
        under contract with one or more of the Manufacturers for a period of 21 months following
        a posting period.

    •   The Manufacturers will amend or supplement their agreements to require the retailer to
        agree to placement of the signs and compliance audits as required by the court order. If a
        retailer does not want to accept such amendment or supplement for the duration of the
        display period, the retailer can terminate the agreement pursuant to its terms.

    •   The amended agreements will include a graduated scale of consequences for repeatedly
        not complying with the sign placement requirements, beginning with the placement of
        additional signs, then the loss of promotional funds, and ultimately suspension from the
        programs for a period of 17 weeks.

    •   The Manufacturers will not offer new cigarette retail program agreements without these
        terms for the duration of the display period.

Accompanying this notice is the Court’s recent order setting forth the procedures for the public
hearing as well as the final version of the parties’ proposed consent order, in the form it will be
presented to the court for approval. You may, if you wish, comment on the proposed order in
writing and/or address the court at the public hearing.
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The hearing to approve the consent order is set for July 28 and 29, 2022, beginning at 10:00 AM
(Eastern Daylight Time), before Judge Friedman in Courtroom 20 at the E. Barrett Prettyman U.S.
Courthouse, 333 Constitution Avenue, N.W., Washington, D.C. 20001. At that hearing, Judge
Friedman will address any retailer comments on, support for, or objections to the consent order.

Written comments and requests to address the court during the hearing should be submitted to the
following email address: DCD_PhilipMorrisSettlement@dcd.uscourts.gov.

All written comments must be received no later than July 25, 2022. Any retailer that wishes to
attend the hearing in person may do so. Virtual attendance will be permitted only for retailers that
have submitted written statements to the Court in advance of the hearing. If you wish to attend
the hearing virtually, after submitting a written statement, you must contact Courtroom Deputy
Clerk, Tanya Johnson at Tanya_Johnson@dcd.uscourts.gov to request the necessary credentials.

Virtual attendance at the settlement hearing will not be permitted for any retailer who has not
timely submitted a written statement regarding the proposed consent order. Due to technology
constraints, those participating virtually will not be able to present any exhibits or demonstratives
to the Court or view any that are physically displayed during the hearing. Other interested retailers
and members of the public may listen to the hearing via the public phone line.

Once the Court makes its final determination on the consent order, we will communicate additional
details regarding next steps.

Thank you for your continued support.
